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                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

PARAGON OFFICE SERVICES, LLC, §
PARAGON AMBULATORY PHYSICIAN  §
SERVICES, PA, OFFICE SURGERY  §
SUPPORT SERVICES, LLC, and    §
AMBULATORY HEALTH SYSTEMS,    §
LLC                           §
                              §
      Plaintiffs,             §
v.                            §                        CIVIL ACTION NO. 3:11-CV-02205-D
                              §
UNITEDHEALTHCARE INSURANCE    §
COMPANY,INC.,UNITEDHEALTHCARE §
OF TEXAS,                     §
INC.,UNITEDHEALTHCARE         §
BENEFITS OF TEXAS, INC., and  §
INGENIX, INC.                 §
                              §
      Defendants.             §

                                 NOTICE OF SETTLEMENT

        Plaintiffs and Defendants have reached an agreement that resolve all claims asserted in

this case.

        The parties will memorialize the terms of their agreement and expect to file a Stipulation

of Dismissal within thirty (30) days.

        Plaintiffs respectfully request the Court allow the parties thirty (30) days to finalize the

settlement agreement and enter a Stipulation of Dismissal.




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                                                  Respectfully submitted,

                                                  /s/
                                                  Martin E. Rose
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                                                  State Bar No. 24013537
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                                                  ATTORNEYS FOR PLAINTIFFS


                              CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing was served on counsel of
record via ECF on December 23, 2013.


                                           /s/ Steven M. Smith
                                           Steven M. Smith




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